Case 2:Ol-cv-02564-SHI\/| Document 78 Filed 06/23/05 Page 1 of 2 Page|D 156

FIL‘ED 3"( ____ J.Ci.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE@S\MH{23 PH 3 q
WESTERN DIVISION

 

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CLEJ~`:K. U,S. DJST`. C?
MARK W. BRYAN, V&D.OPTN,i ENPHB
Plaintiff,
VS- NO. 01-2564-Ma

WAYNE BR.ANDON ,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE HEARING

 

Before the court is defendent's June 17, 2005, motion to
reset the hearing which is presently set on July l, 2005. For
good Cause shown, the motion is granted. The detention hearing

is reset to Friday, July 15, 2005, at 2:00 p.m.

l.
It is so ORDERED this l ,& day of ij:;, 005.

 

SAMUEL H. MAYS, »_TR.
UNITED STA'I‘ES DISTRICT JUDGE

‘\j

 

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Honorable Samuel Mays
US DISTRICT COURT

